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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

- - - - - - - - - - - - - - -        x
DONGGUK UNIVERSITY,                  :         No. 3:08-CV-00441 (TLM)
       Plaintiff,                    :
                                     :
v.                                   :
                                     :
YALE UNIVERSITY,                     :
       Defendant.                    :
- - - - - - - - - - - - - - -        x

                              DISCOVERY RULING

        Defendant Yale University submitted a letter brief, dated

May 26, 2011, requesting an in camera review of one document

redacted by plaintiff Dongguk University under the work product

protection. The document at issue, bates stamped JACOBY0000148-

149, consists of two pages of handwritten notes by Dongguk’s

expert witness, Jacob Jacoby. The redaction consists of three

lines    of   notes     memorializing    a     conclusion   articulated    by

plaintiff’s counsel about a survey performed by a nontestifying

consultant.     After     considering    the     parties’   arguments1    and

conducting in camera review of the redaction at issue, the Court

sustains plaintiff’s assertion of the work product protection

       Federal Rule of Civil Procedure 26(b)(3)(A) provides that,

       [o]rdinarily, a party may not discover documents and
       tangible things that are prepared in anticipation of
       litigation or for trial by or for another party or its
       representative (including the other party's attorney,
       consultant, surety, indemnitor, insurer, or agent).


       “The   work-product rule     shields     from   disclosure   materials


1   Telephonic Oral Argument was held on June 20, 2011.
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prepared “in      anticipation      of   litigation”        by    a party,     or    the

party's representative, absent a showing of substantial need.

U.S.   v.   Adlman,    68   F.3d   1495,       1501   (2d    Cir.    1995)     (citing

Fed.R.Civ.P.     26(b)(3)).     “The     purpose      of    the    doctrine     is    to

establish a zone of privacy for strategic litigation planning and

to   prevent     one   party   from      piggybacking       on    the    adversary's

preparation.” Id. (citing          United States v. Nobles, 422 U.S. 225,

238, 95 S.Ct. 2160, 2170, 45 L.Ed.2d 141 (1975) (“At its core,

the work-product doctrine shelters the mental processes of the

attorney, providing a privileged area within which he can analyze

and prepare his client's case.”); Hickman v. Taylor, 329 U.S.

495, 516, 67 S.Ct. 385, 396, 91 L.Ed. 451 (1947) (Jackson, J.,

concurring) (work product rule intended to insure that one side

does not “perform its functions ... on wits borrowed from the

adversary”); Restatement of the Law Governing Lawyers, Chap. 5 at

1 (Tent. Draft No. 6 1993) (“the doctrine seeks to preserve a

zone of privacy in which a lawyer can work free from intrusion by

opposing counsel”)).

       The redactions capture a conclusion by plaintiff’s counsel

with   respect    to   a    litigation        strategy.     While,      as   defendant

argues, as a general matter, an expert’s notes are not protected

by Rules 26(b)(4)(B) or (C), certainly work product in documents

prepared by or for a party or party’s representative may be

protected from disclosure pursuant to Rule 26(b)(3)(A). See 6

                                          2
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Moore’s   Federal    Practice,    §       26.70[4]   (Matthew     Bender    3d

ed.)(citing United States v. Nobles, 422 U.S. 225, 238-239 (1975)

(work product doctrine protects material prepared by attorney or

attorney’s   agent)).    Accordingly,       the   Court   finds    that    the

redactions at issue constitute attorney work product and sustains

the assertion of the work product protection.

     This is not a recommended ruling. This is a discovery ruling

and order which is reviewable pursuant to the "clearly erroneous"

statutory standard of review.      28 U.S.C. § 636 (b)(1)(A); Fed. R.

Civ. P. 6(a), 6(e) and 72(a); and Rule 2 of the Local Rules for

United States Magistrate Judges.          As such, it is an order of the

Court unless reversed or modified by the district judge upon

motion timely made.



     SO ORDERED at Bridgeport this 8TH         day of July      2011.



                                              /s/
                                  HOLLY B. FITZSIMMONS
                                  UNITED STATES MAGISTRATE JUDGE




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